Case 2:20-cv-08894-VBF-LAL Document 19 Filed 09/28/21 Page 1 of 1 Page ID #:476




  1
  2
  3
  4
  5
  6
                                     UNITED STATES DISTRICT COURT
  7
                                    CENTRAL DISTRICT OF CALIFORNIA
  8
  9
 10   SHANE MONROE BOWDEN,                              Case No. LACV 20-8894-VBF (LAL)

 11                                     Petitioner,     ORDER ACCEPTING REPORT AND
                                                        RECOMMENDATION OF UNITED
 12                            v.                       STATES MAGISTRATE JUDGE
 13   GEORGE JAIME,

 14                                       Respondent.

 15
 16
 17          Pursuant to 28 U.S.C. § 636, the Court has reviewed the Petition, the Motion to Dismiss,
 18   the Magistrate Judge’s Report and Recommendation, and the remaining record, and has made a
 19   de novo determination.
 20          Accordingly, IT IS ORDERED THAT:
 21          1.     The Report and Recommendation is approved and accepted;
 22          2.     Judgment be entered dismissing the Petition with prejudice as barred by the
 23                 statute of limitations; and
 24          3.     The Clerk serve copies of this Order on the parties.
 25
      DATED: September 28, 2021                                /s/ Valerie Baker Fairbank
 26                                                       _________________________________
 27                                                       HON. VALERIE BAKER FAIRBANK
                                                          UNITED STATES DISTRICT JUDGE
 28
